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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 BERKEY INTERNATIONAL, LLC,                                Civil No. 3:24-cv-01106-CVR

                         Plaintiff,
                 v.

 ENVIRONMENTAL PROTECTION
 AGENCY, et al.

                         Defendants.




    MOTION FOR LEAVE TO FILE IN EXCESS OF PAGE LIMITATIONS UNDER
                           LOCAL RULE 7(e)

       Defendants, U.S. Environmental Protection Agency (“EPA”), Michael S. Regan, in his

official capacity as Administrator, EPA, Christine Tokarz in her official capacity as an employee

of EPA, and David Cobb in his official capacity as an employee of EPA (“Defendants”) hereby

move for leave to file in excess of page limitations under Local Rule 7(e). In support of

Defendants’ motion, Defendants represent that:

       1. On March 26, 2024, the Court ordered Defendants to file their response in opposition

to Plaintiff’s motion for preliminary injunction by April 17, 2024. ECF No. 37.

       2. Defendants tender their proposed response, which consists of 20 pages, excluding

table of contents, table of authorities, and signature page, in request for leave to file in excess of

the 15-page limit set forth by D.P.R. Local Rule 7(e). See Ex. 1. The multiple criteria that must

be addressed in relation to the standards for a preliminary injunction required additional pages

for briefing. Plaintiff’s motion is 19 pages and incorporated Plaintiff’s complaint and its exhibits

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by reference, over 650 pages with the same exclusions. Thus, Defendants seek only to file a

brief that can address the allegations in Plaintiff’s motion.

       3. Should the Court allow the excess page brief to be filed, the undersigned will file

separately upon authorization from the Court.

       Accordingly, Defendants respectfully request that the Court grant Defendants’ motion

and allow Defendants to file their draft response brief, Ex. 1.


Dated: April 17, 2024

                                                         /s/ Shari Howard
                                                   Shari Howard
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                                    Certificate of Service

      I certify that on April 17, 2024, I filed the foregoing with the Court’s CMS/ECF system,
which will notify each party.

                                                        /s/ Shari Howard
                                                   Shari Howard




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